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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

 THE BOARD OF TRUSTEES OF THE
 UNIVERSITY OF ILLINOIS,
                                                  Case No. 21-cv-06546
                   Plaintiff,

        v.                                        Hon. John Robert Blakey

 VINTAGE BRAND, LLC,                              JURY TRIAL DEMANDED

                   Defendant.

                          PLAINTIFF’S LOCAL RULE 3.4
                   NOTICE OF CLAIMS INVOLVING TRADEMARKS

       Pursuant to Local Rule 3.4, Plaintiff, THE BOARD OF TRUSTEES OF THE

UNIVERSITY OF ILLINOIS, through its attorneys, hereby provides notice to the Clerk of Court

that notice is required to be provided in writing to the Director of the United States Patent and

Trademark Office of information required by 15 U.S.C. § 1116(c) with respect to the following

additional trademark asserted against Defendant in this action in Plaintiff’s Second Amended

Complaint:

       (a) U.S. Trademark Reg. No. 2,315,363
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Dated: March 22, 2022
                                              Respectfully submitted,

                                              THE BOARD OF TRUSTEES FOR THE
                                              UNIVERSITY OF ILLINOIS

                                              By: /s/ Jeffrey J. Catalano
                                                   One of Its Attorneys

                                              Jeffrey J. Catalano
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 22nd day of March, 2022, that the above and foregoing was

filed electronically with the Clerk of the Court using the CM/ECF system, which sent notification

to all ECF registrants that are counsel of record for this matter.


                                                   By: /s/ Jeffrey J. Catalano




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